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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )       AMENDED ORDER GRANTING MOTION
               Plaintiff,             )       RELEASE
                                      )
       vs.                            )
                                      )       Case No. 1:23-cr-102
Denum James Griggs,                   )
                                      )
               Defendants.            )


       Defendant is in United States Marshals Service (“USMS”) custody at the Sherburne County

Jail in Elk River, Minnesota. On October 25, 2023, he filed a motion requesting to be released to the

F5 Project's sober living facility in Bismarck, North Dakota. (Doc. No. 122). Therein he advised

that his mother, Kristal Griggs, can transport him from the Sherburne County Jail to the F-5

Project’s facility on October 27, 2023.

       On October 26, 2023, the court issued an order granting Defendant’s motion and directed

that he be released to his mother or other person approved by the Pretrial Services Office no earlier

than 8:30 AM on October 27, 2023, for transport to the F-5 Program’s facility. (Doc. No. 123).

       On October 27, 2023, the court was advised that, due to inclement weather, Defendant’s

mother was unable to travel to Elk River and pick Defendant up as anticipated. The court was

further advised that Defendant has now made arrangements to travel on Amtrak from Elk River to

Minot, North Dakota, where he will be met by his mother and transported to the F-5 Project’s

facility in Bismarck. Defendant’s scheduled departure from Elk River is later in the evening on

October 27, 2023.

       Finding Defendant’s alternative travel arrangements acceptable, the court GRANTS


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Defendant’s motion (Doc. No. 122). Defendant shall be released no earlier than 9:00 PM on

October 27, 2023, with the understanding he will travel to Minot on Amtrak and then be transported

to Bismarck with his mother or other person approved by the Pretrial Services Office and report to

the F-5 Program’s facility. Defendant's release shall be subject to the following conditions:

       (1)     Defendant shall not violate federal, state, tribal, or local law while on release.

       (2)     Defendant shall appear in court as required and surrender for any sentence imposed.

       (3)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner, and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection process or specimen may be considered the same as a

               positive test.

       (4)     Without 48 hours of his arrival of the F-5 Project's facility, Defendant shall contact

               Pretrial Services Officer Stephanie Cherney at (701) 530-2396 and thereafter report

               to the Pretrial Services Officer at such times and in such manner as designated by the

               Officer.

       (5)     Except upon prior approval from the Pretrial Services Officer, Defendant's travel is

               restricted to the Bismark/Mandan metropolitan area.

       (6)     Defendant shall undergo a substance abuse and/or mental health evaluation if

               required by the Pretrial Services Officer and comply with resulting counseling or

               treatment recommendations.


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(7)    Defendant shall not possess a firearm, destructive device, or other dangerous

       weapon.

(8)    Defendant shall not knowingly or intentionally have any direct or indirect contact

       with witnesses or co-defendants, except that counsel for Defendant, or counsel's

       agent or authorized representative, may have such contact with such person(s) as is

       necessary in the furtherance of Defendant's legal defense.

(9)    Defendant shall reside at the F-5 Project's facility in Bismarck, fully participate in

       its programming, and comply with all of its rules and regulations. If for any reason

       Defendant is terminated from the F-5 Project's facility, he must surrender to the

       custody of the United States Marshal.

(10)   Defendant shall submit his person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services

       Officer. Failure to submit to a search may be grounds for revocation of her release.

       Defendant shall notify any other residents that the premises may be subject to search

       pursuant to this condition.

(12)   Defendant must report as soon as possible, to the Pretrial Service Office or his

       supervising Pretrial Service Officer, every contact with law enforcement personnel,

       including arrests, questioning, or traffic stops.

IT IS SO ORDERED.

Dated this 27th day of October, 2023.

                                      /s/ Clare R. Hochhalter
                                      Clare R. Hochhalter, Magistrate Judge
                                      United States District Court


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